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                         Appendix C
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                                                        Appendix C
                                        Examples of Google Employees Spoliating Chats
                   Custodian/
                                                                                                                         Custodians/
                   WITNESS
Ex.   Document                    Date of                                                                           WITNESSES Involved
                  Requesting or                                          Chat Excerpt
 #      Bates                      Chat                                                                             (custodian date; hold
                   Permitting
                                                                                                                            date)
                  History Off
                                            acharaniya@google.com 2022-09-23T01:23:58.401Z
                                            btw didnt realize history is on for us
      GOOG-AT-                              acharaniya@google.com 2022-09-23T01:24:02.913Z                          Amin Charaniya
                Amin
4X    MDL-                        9/23/2022 mind if i turn it off?                                                  custodian: 1/15/2021
                Charaniya
      007610074                             hsnair@google.com 2022-09-23T01:24:10.549Z                              hold: 2/3/2021
                                            sure
                                            [end of chat]
                                            aschavez@google.com 2022-06-10T03:33:38.162Z
                                            separate topic - this chat room has history / is persisted? . . . can
                                            we configure it to be transient?
                                            ...
                                            vinaygoel@google.com 2022-06-10T03:39:19.589Z
                                            if its not doable, are folks okay with a group chat? the benefit? no    Anthony Chavez
                                            history. The con? No threads. . . . Kevin and I just tried testing it   custodian: 2/20/2020
                                            out. We can't within a Space                                            hold: 1/22/2021
      GOOG-AT-
                Anthony                     aschavez@google.com 2022-06-10T03:40:40.053Z
4W    MDL-                        6/10/2022
                Chavez                      that's a bummer . . . my sense is we deal with a group chat?            Marshall Vale
      007857170
                                            though I am in some spaces that have no history (though maybe           custodian (TX):
                                            not multi threading)                                                    1/14/2021
                                            ...                                                                     hold: 1/21/2021
                                            vinaygoel@google.com 2022-06-10T03:44:18.223Z
                                            okay, let me create a new one right now. It'll still be a space.
                                            aschavez@google.com 2022-06-10T03:44:24.242Z
                                             cool - ty
                                            [end of chat]
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                                         woojink@google.com 2021-11-04T16:39:15.556Z                              WOOJIN KIM
                                         can you turn off history?                                                custodian: 8/3/2020
                                         woojink@google.com 2021-11-04T16:39:40.559Z                              hold: 1/22/2021
     GOOG-AT-
                                         and could you add katie kurtz pls
4R   MDL-      WOOJIN KIM      11/4/2021
                                         gomes@google.com 2021-11-04T16:50:51.761Z                                Benedict Gomes
     008836562
                                         Added Katie - if you have threading, then history is on, so this is      custodian (CID only):
                                         basically like email.                                                    11/20/2019
                                         [end of chat]                                                            hold: unknown
                                         dardelean@google.com 2021-01-28T17:00:49.832Z
                                         cool. btw - this group is on record . . . we should kill it and create
                                         one that is single threaded and off the record
                                         srireddy@google.com 2021-01-28T17:01:40.628Z
                                         not sure why - yes good pt!                                              Amin Charaniya
                                         ...                                                                      custodian: 1/15/2021
                                         dardelean@google.com 2021-01-28T17:47:25.960Z                            hold: 2/3/2021
     GOOG-AT-                            who is in charge with creating this room? I really feel super
               Amin
4L   MDL-                      1/27/2021 uncomfortable us continuing this on the record                           Christophe Combette
               Charaniya
     010087323                           ...                                                                      custodian: 5/26/2023
                                         touma@google.com 2021-01-28T17:56:53.355Z                                hold: 6/12/2023
                                         im gonna create a new room and kill this one                             (took over for another
                                         ...                                                                      custodian 2020)
                                         dardelean@google.com 2021-01-28T17:57:19.593Z
                                         sorry I copied everyone into a new room . . . let's stop using this
                                         one
                                         [end of chat]
                                         yvettehc@google.com 2021-11-10T18:15:58.284Z
                                         ok for me to keep history on here? need to keep some info for
                                         memory purposes
                                         dromain@google.com 2021-11-10T18:34:34.134Z
     GOOG-AT-                            Yvette, unfortunately, I’m not supportive of turning history on.         Danielle Romain
               Danielle
4S   MDL-                     11/10/2021 The discussion that started this thread gets into legal and              custodian: 2/20/2020
               Romain
     010366478                           potentially competitive territory, which I’d like to be conscientious    hold: 1/22/2021
                                         of having under privilege. So that you’re aware, when history is
                                         on, it’s discoverable. Sometimes that’s totally fine but I’d like to
                                         stick to the default of history off. Thanks
                                         [end of chat]
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                                                                                                                  BONITA STEWART
                                         Bonita Stewart , 2020-04-08 13:06:12                                     custodian: 11/20/2019
     GOOG-AT-                            btw you might want to turn your chat history off                         hold: 10/4/2019
               BONITA
4E   MDL-                       4/8/2020 Jason Washing , 2020-04-08 13:06:21
               STEWART
     010699441                           geez . . . for sure! . . . thank you!                                    Jason Washing
                                         [end of chat]                                                            custodian: 7/9/2021
                                                                                                                  hold: 1/22/2021
                                                                                                                  APARNA PAPPU
                                         mchasan@google.com 2021-06-11T00:41:39.289Z                              custodian: 8/3/2020
     GOOG-AT-                            Please keep history off on this legally sensitive chat room              hold: 1/22/2021
               APARNA
4P   MDL-                      6/10/2021 apappu@google.com 2021-06-11T00:45:30.150Z
               PAPPU
     010777654                           @Mike Chasan who all have we debriefed in legal?                         JIM GILES
                                         [end of chat, other than updates to "room membership"]                   custodian: 8/3/2020
                                                                                                                  hold: 1/22/2021
                                         mpal@google.com December 15, 2021 at 8:36:59 PM UTC
                                         Hope it's OK to have chat history on
                                         ...
                                         tris@google.com December 15, 2021 at 9:13:26 PM UTC
                                         We want chat history on? I would generally prefer for us to keep
     GOOG-AT-                            history off. Is there a strong reason to keep this on?                   MARTIN PAL
4U   MDL-      MARTIN PAL     12/15/2021 . . .                                                                    custodian: 5/18/2023
     011236786                           cilvento@google.com December 15, 2021 at 9:32:31 PM UTC                  hold: 1/22/2021
                                         I think history is on at this point . . . But we'll turn it off now as
                                         discussed
                                         mpal@google.com December 15, 2021 at 9:32:40 PM UTC
                                         let's turn it off then
                                         [end of chat]
                                         Roshan Khan , 2021-03-05 07:21:19
                                         Let’s figure our position then we can figure out who does the
     GOOG-AT-                                                                                                     Roshan Khan
                                         work. Unclear to me best place
4O   MDL-      Roshan Khan      3/5/2021                                                                          custodian: 1/15/2021
                                         Roshan Khan , 2021-03-05 07:22:43
     011693260                                                                                                    hold: 1/22/2021
                                         Can you turn history off . . . Otherwise let’s chat in Vcs
                                         [end of chat]
               Case 1:23-cv-00108-LMB-JFA Document 1203-3 Filed 08/23/24 Page 5 of 10 PageID# 88928

                                         vip@google.com 2022-02-02T21:33:44.206Z
                                         holy moly. FB down 23% in afterhours . . . I'd also assume
                                         engagement is weakening on the core app and hurting their cross-
                                         platform measurement products, etc.
                                         ...
                                         dyc@google.com 2022-02-02T21:37:04.738Z
                                         Took a quick glance at the press release. . . . They say it’s on both
     GOOG-AT-                            pricing and impression deceleration. They are blaming a shift to        Vip Andleigh
4V   MDL-      Vip Andleigh     2/1/2022 Reels (lower CPM than stories and news feed) and ATT. . . .             custodian: 8/3/2020
     012246761                           ...                                                                     hold: 1/22/2021
                                         brownadam@google.com 2022-02-02T21:51:01.685Z
                                         The other factor I'd throw out there is increased competition.
                                         ...
                                         craigma@google.com 2022-02-02T23:04:14.429Z
                                         Also, suggest we turn off history since there is no business need
                                         for it unless anyone feel strongly against
                                         [end of chat]
                                                                                                                 Vidhya Srinivasan
                                         Christophe Combette , 2020-10-29 10:08:09                               custodian: 2/20/2020
     GOOG-AT-                            do you know if our pings are privileged / discoverable?                 hold: 1/22/2021
               Vidhya
4J   MDL-                     10/29/2020 Vidhya Srinivasan , 2020-10-29 10:08:39
               Srinivasan
     014680318                           we should turn history off                                              Christophe Combette
                                         [end of chat]                                                           custodian: 5/26/2023
                                                                                                                 hold: 6/12/2023
                                         sundar@google.com 2020-03-03T16:16:47.476Z                              Prabhakar Raghavan
                                         We can have everyone join at noon                                       custodian: 11/20/2019
                                         pragh@google.com 2020-03-03T16:18:35.601Z                               hold: 10/4/2019
     GOOG-AT-
               Prabhakar                 Let's decide at noon whether to recreate as a History off group chat
4C   MDL-                       3/3/2020
               Raghavan                  pragh@google.com 2020-03-03T16:19:27.562Z                               Sundar Pichai
     018356212
                                         The chat within video meetings loses history when the call ends I       custodian: 11/20/2019
                                         believe, but I'll confirm                                               hold: 10/4/2019
                                         [end of chat]
                                         pragh@google.com 2020-03-03T16:32:40.586Z                               Prabhakar Raghavan
     GOOG-AT-
               Prabhakar                 ok team false start - by the IRC semantics of chat Rooms, History       custodian: 11/20/2019
4D   MDL-                       3/3/2020
               Raghavan                  remains ON - so I'm going to kill this room and re-create as a          hold: 10/4/2019
     018356213
                                         group chat with History OFF. sorry about that
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                                         vids@google.com 2020-10-06T17:48:31.936Z
                                         pls turn off history
                                                                                                                 Vidhya Srinivasan
                                         lawrencechang@google.com 2020-10-06T17:49:35.187Z
                                                                                                                 custodian: 2/20/2020
                                         oh i see. let's be careful there, karthik.
     GOOG-AT-                                                                                                    hold: 1/22/2021
               Vidhya                    acharaniya@google.com 2020-10-06T17:51:49.886Z
4I   MDL-                      10/6/2020
               Srinivasan                touma has some extension that keeps turning history on
     018491727                                                                                                   Amin Charaniya
                                         touma@google.com 2020-10-06T17:52:36.119Z
                                                                                                                 custodian: 1/15/2021
                                         it's probably easier to remove me from the chat group while i find
                                                                                                                 hold: 2/3/2021
                                         the extension
                                         [end of chat]
                                         dallsopp@google.com 2021-02-10T21:57:32.850Z
                                         Can we also keep the info confidential to this group? . . .
                                         vip@google.com 2021-02-10T21:59:28.472Z
                                         lets keep confi, we can also turn off history. if i see something
                                         important, i'll note it down somewhere
                                         ...
                                         dallsopp@google.com 2021-02-10T22:00:07.333Z
                                         I also dont know how to turn history on... . . .
                                         https://docs.google.com/presentation/d/1kG1CYAotgeV-
     GOOG-AT-                                                                                                    Vip Andleigh
                                         NGwB3ZWiFT-
4N   MDL-      Vip Andleigh    2/10/2021                                                                         custodian: 8/3/2020
                                         Z8eobOnNBqEAGzAfeHBM/edit#slide=id.gbb0c393bc6_0_0 . . .
     019389207                                                                                                   hold: 1/22/2021
                                         Proposal for rebooting Planning, starting by bold objectives
                                         outline by team. Next step is fleshing out headwinds, using
                                         Finance "risk Log" as a starting point. I'll share w/ this group once
                                         I have it.
                                         crhyu@google.com 2021-02-11T15:58:36.668Z
                                         Thanks Dale this is really helpful to see. . . .
                                         dallsopp@google.com 2021-02-11T16:12:15.008Z
                                         not final. will respond shortly. closing meeting
                                         [end of chat]
                                         Nitish Korula , 2019-11-12 12:59:25
               NITISH
                                         Curt, Jonathan: Can we preserve old DT files from the last 60 days
               KORULA
                                         Curt Harting , 2019-11-12 12:59:35
     GOOG-AT- (requested by                                                                                      NITISH KORULA
                                         Talked to Chech now
4A   MDL-B-    in-house       11/12/2019                                                                         custodian: 2/16/2021
                                         ...
     003992377 counsel,                                                                                          hold: 10/4/2019
                                         Uchechi Okereke , 2019-11-12 12:59:49
               Uchechi
                                         Please can we turn history off?
               Okereke)
                                         [end of chat]
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                                          Chris LaSala, 2020-08-18 13:01:59
                                          do you know how much buy-side changes are because of
                                          &#39;efficiency&#39; . . . vs decreased win rate . . . because if a
                                          big part is decreased win rate, we&#39;d expect buyside to adjust .
                                          . . so the loss will come back                                               CHRIS LASALA
                                          Nash Islam , 2020-08-18 13:02:53                                             custodian: 2/20/2020
     GOOG-AT-                             dont know but will look into. good q                                         hold: 1/22/2021
               CHRIS
4G   MDL-B-                     8/18/2020 . . .
               LASALA
     004008622                            Chris LaSala , 2020-08-18 13:03:18                                           DUKE DUKELLIS
                                          also, maybe start an off the record ping thread with Duke,you, me .          custodian: 2/20/2020
                                          . . about this . . . and lets the 3 of us get on the same page . . . about   hold: 1/22/2021
                                          what, if anything, we (sell-side) should do about it
                                          Nash Islam , 2020-08-18 13:03:57
                                          k kicking off now
                                          [end of chat]
                                          sundar@google.com October 12, 2021 at 4:53:16 AM UTC
     GOOG-AT-                             Need the link for my leaders circle tomorrow                                 Sundar Pichai
               Sundar Pichai
4Q   MDL-B-                    10/12/2021 sundar@google.com October 12, 2021 at 4:53:28 AM UTC                         custodian: 11/20/2019
               (CEO)
     004073824                            also can we change the setting of this group to history off                  hold: 10/4/2019
                                          [discussion of linked draft document]
                                          Bonita Stewart , 2019-12-03 11:40:29
                                          fyi. on your chats you have the history turned on. we are
     GOOG-AT-                             advised to turn history off so messages are cleared after 24 hours           BONITA STEWART
               BONITA
4B   MDL-B-                     12/3/2019 Cyrus Beagley , 2019-12-03 11:41:50                                          custodian: 11/20/2019
               STEWART
     004309756                            oh i didn&#39;t know that -- i&#39;ve turned it on so i don&#39;t            hold: 10/4/2019
                                          loose messages! I&#39;ll turn it off then...
                                          [end of chat]
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                                           wendyklogan@google.com November 17, 2021 at 1:16:39 AM
                                           UTC
                                           Adding Aysun, who is excited to drive and coordinate this effort
                                           from a Business Strategy perspective. Welcome
                                           ...
                                           juda@google.com November 17, 2021 at 2:43:40 PM UTC
                                           What is the history status of this group?
                                           wendyklogan@google.com November 17, 2021 at 8:33:57 PM
                                           UTC
                                           Given it's a thread chat room, we cannot turn history off and chat
                                           retention is 18 months. https://support.google.com/info-
     GOOG-AT-                                                                                                   Adam Juda
                                           gov/answer/9366391
4T   MDL-B-    Adam Juda        11/17/2021                                                                      custodian: 2/20/2020
                                           wendyklogan@google.com November 17, 2021 at 8:34:34 PM
     004468047                                                                                                  hold: 1/22/2021
                                           UTC
                                           We can pivot to group chat with history off -- or --- keep the
                                           current setup and only reserve this space for non-sensitive
                                           discussions
                                           ...
                                           juda@google.com November 17, 2021 at 8:38:27 PM UTC
                                           My preference is history off
                                           wendyklogan@google.com November 17, 2021 at 9:07:09 PM
                                           UTC
                                           sounds good. Will pivot to Google Chat vs. Google Spaces
                                           [end of chat]
                                           Nash Islam , 2020-09-16 07:54:22
                                           Should i send an email to Duke &amp; Naomi right now on this? .
                                           . . &quot;Per discussion with Spero &amp; his feedback from PS,
                                           we should avoid direct mentions of sign-in and email consent in
                                                                                                                CHRIS LASALA
                                           our MSA to align with the negotiating strategy where we will not
                                                                                                                custodian: 2/20/2020
                                           be specific about our alternative approach for measurement and
     GOOG-                                                                                                      hold: 1/22/2021
                 CHRIS                     attribution&quot;
4H   DOJ-AT-                     9/16/2020
                 LASALA                    Nash Islam , 2020-09-16 07:56:23
     01828942                                                                                                   DUKE DUKELLIS
                                           or too sensitive for email so keep on ping?
                                                                                                                custodian: 2/20/2020
                                           Chris LaSala , 2020-09-16 07:58:32
                                                                                                                hold: 1/22/2021
                                           start a ping with history turned off . . . duke, naomi, alex, me
                                           Nash Islam , 2020-09-16 07:59:33
                                           k
                                           [end of chat]
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                                         nazli@google.com 2022-08-08T15:55:38.064Z
                                         Adding all the invitees from the war room
                                         ...
                                                                                                                  Adam Juda
                                         juda@google.com 2022-08-08T17:22:45.678Z
                                                                                                                  custodian: 2/20/2020
                                         so it's no longer a Tech-only meeting? . . . Also, I see that History
     GOOG-AT-                                                                                                     hold: 1/22/2021
                                         is on in this chat. If that can't be changed, can I please be removed
4F   MDL-      Adam Juda        8/8/2020
                                         from this discussion?
     008384936                                                                                                    Marcel Crasmaru
                                         tinaweyand@google.com 2022-08-08T17:25:36.294Z
                                                                                                                  custodian: 1/15/2021
                                         today includes GPL - we need advertiser feedback.
                                                                                                                  hold: 2/3/2021
                                         nazli@google.com 2022-08-08T17:25:40.284Z
                                         agreed lets remove
                                         [end of chat]

                                                                                                                  Prabhakar Raghavan
                                                                                                                  custodian: 11/20/2019
                                         pragh@google.com 2021-01-27T17:38:56.017Z                                hold: 10/4/2019
                                         related to this apple privacy discussion, from today's NYT: "The
                                         result is that the data practices of Apple’s apps are less upfront. If   JERRY DISCHLER
                                         Apple wants to lead the privacy conversation, it can set a better        custodian: 11/19/2019
                                         example by making language clearer — and its labeling program            hold: 1/22/2021
               Prabhakar
                                         less self-serving. When I asked why all apps shouldn’t be held to
               Raghavan
                                         the same standards, Apple did not address the issue further."            Adam Juda custodian:
     GOOG-AT- (in-house
                                         cathyedwards@google.com 2021-01-27T17:40:11.298Z                         2/20/2020 hold:
4M   MDL-      counsel Ted     1/27/2021
                                         I worry that this will be like Apple and China - they are just better    1/22/2021
     018491736 Lazarus was
                                         at handling this press (and their employees) than we are so won't
               also on the
                                         be so drawn into an ongoing story                                        Rany Ng
               chat)
                                         pragh@google.com 2021-01-27T17:40:38.624Z                                custodian: 8/3/2020
                                         well then we just need to get a lot better                               hold: 1/22/2021
                                         pragh@google.com 2021-01-27T17:47:11.796Z
                                         ugh pl stop this chat, for some reason History is on                     Vidhya Srinivasan
                                         [end of chat]                                                            custodian: 2/20/2020
                                                                                                                  hold: 1/22/2021
                Case 1:23-cv-00108-LMB-JFA Document 1203-3 Filed 08/23/24 Page 10 of 10 PageID#
                                                         88933
                                         John Winfield , 2020-11-11 17:05:43
                                         that&#39;s the launch as viewed from aq-launches . . . but, this
     GOOG-AT-                            begs the question: who is on shopping-ads-commerce-headsup . .   Adam Juda
4K   MDL-B-    Adam Juda      11/11/2020 .if Adam doesn&#39;t have access                                 custodian: 2/20/2020
     004468045                           Adam Juda , 2020-11-11 17:07:01                                  hold: 1/22/2021
                                         How do we turn History off? I don&#39;t do History on
                                         [end of chat]
